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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

MARY LOU PETT; KATHLEEN FICK-               Civil Action No. 2:22-CV-11389-DPH-
GEE; DIANE BRYCE; PATTI                     EAS
DELVALLE; MICHELE HOLCOMB;                  RESPONSE TO PLAINIFFS’
KIM READUS; ALICE REESE; ERIKA              NOTICE OF SUPPLEMENTAL
VAN ALLER; and LINDA WHITE,                 AUTHORITY
individually and on behalf of all others    Complaint Filed:        June 22, 2022
similarly situated,                         Complaint Served:       June 30, 2022

             Plaintiffs,

v.

PUBLISHERS CLEARING HOUSE,
INC.,

             Defendant.



        On March 31, 2023, Plaintiffs Mary Lou Pett (“Pett”), Kathleen Fick-Gee,

Diane Bryce, Patti DelValle, Michele Holcomb, Kim Readus, Alice Reese, Erika

Van Aller, and Linda White (collectively, “Plaintiffs”) filed in the above-referenced

action a Notice of Supplemental Authority, citing to Batts v. Gannett Co., Case No.

4:22-cv-10685, ECF No. 28 (E.D. Mich. Mar. 30, 2023) (“Batts”). [ECF No. 38.]

Plaintiffs cited the Batts Opinion and Order Denying Defendant’s Motion to Dismiss

(“Batts Order”) in support of three legal propositions, two of which have no bearing

here.
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         1.        First, Plaintiffs cite the Batts Order for the proposition that a plaintiff

alleging a violation of the Michigan Protection of Personal Privacy Act (“PPPA”)

“necessarily ha[s] Article III standing to bring suit in federal court.” [ECF No. 38, ¶

2.] This holding is neither novel nor relevant to Publishers Clearing Houses, LLC’s1

(“PCH”) Motion to Dismiss Second Amended Class Action Complaint. [ECF No.

25.] Courts have repeatedly found Article III standing in PPPA cases. See, e.g.,

Coulter-Owens v. Time Inc., 695 F. App'x 117, 121 (6th Cir. 2017) (“Since the

district court’s decision, however, three district court cases have addressed this

question and found that a plaintiff does have standing under the PPPA, that Spokeo

does not change that, and that the new PPPA is not retroactive[.]”). And nowhere in

PCH’s Motion to Dismiss did it argue that Plaintiffs lacked Article III standing here.

[See generally ECF No. 25.]

         2.        Second, Plaintiffs cite the Batts Order for the proposition that “the six-

year limitation period found in M.C.L § 600.5813 applied to plaintiffs’ PPPA claims,

and that the limitation period was tolled for 101 days pursuant to Mich. Executive

Order 2020-58 and Michigan Supreme Court Administrative Order 2020-3” [ECF

No. 38, ¶ 3.] As PCH stated in its prior response to Plaintiffs’ supplemental

authority, [ECF No. 34, ¶ 2], although PCH reserves its right to contest this claim

should Plaintiffs’ complaint survive PCH’s Motion to Dismiss, whether a six-year


1
    Erroneously sued as Publishers Clearing House, Inc.

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limitation period applies to Plaintiffs’ PPPA claims or whether that period was tolled

by Michigan Executive Order 2020-58 and Michigan Supreme Court Administrative

Order 2020-3 has no impact on the Court’s order on PCH’s Motion to Dismiss. In

its Motion to Dismiss, PCH argued that Plaintiff had not plausibly alleged any

violation of the PPPA, regardless of when an alleged violation occurred. [See

generally Dkt. No. 25.]

         3.        Finally, Plaintiffs cite the Batts Order claiming (1) that “the Batts court

found that the plaintiffs’ complaint contained ‘well- pleaded allegations that they

were USA Today subscribers and that Gannett disclosed their private reader

information without their authorization within the relevant time period’” and (2)

that the Batts court “considered and rejected defendant’s arguments regarding the

recent decision in Nashel v. The New York Times Co., 22-cv-10633 (E.D. Mich.

Oct.11, 2022).” [ECF No. 38, p. 2.]

         4.        As they did in their prior Notice of Supplemental Authority, [ECF No.

36], Plaintiffs ignore the key factual distinctions between the Batts case and this

case.

         5.        In Batts, the plaintiffs alleged what, specifically, they purchased from

the defendant (i.e., subscriptions to USA Today newspaper) and what they purchased

fell clearly within the types of information protected from disclosure by the PPPA.

[See Batts First Amended Class Action Complaint (“Batts Compl.”), attached hereto



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as Exhibit A, ¶¶ 9-13 (alleging for each of the five named plaintiffs that they,

“[w]hile residing in, a citizen of, and present in Michigan,…purchased [their]

subscription[s] to USA Today newspaper directly from [defendant]”]. See also

BOOKS,             SOUND     RECORDINGS,         VIDEOS—PURCHASE,           RENTAL,

BORROWING—DISCLOSURE OF IDENTITY OF CUSTOMER, 1988 Mich.

Legis. Serv. 378, Sec. 2 (“Except as provided in section 3 or as otherwise provided

by law, a person, or an employee or agent of the person, engaged in the business of

selling at retail, renting, or lending books or other written materials, sound

recordings, or video recordings shall not disclose to any person, other than the

customer, a record or information concerning the purchase, lease, rental, or

borrowing of those materials by a customer that indicates the identity of the

customer.” (emphasis added)).

         6.        In contrast, Plaintiffs here do not allege what, specifically, they

purchased from PCH and, therefore, have not alleged any facts that would allow this

Court to infer that PCH was even in possession of, let alone disclosed, information

protected from disclosure by the PPPA. For example, unlike the Plaintiffs in Batts,

each Plaintiff here generically alleges that he or she “purchased written materials,

sound recordings, and/or video recordings sold by PCH, including but not limited to

subscriptions to magazines, prior to July 31, 2016 (including during the relevant pre-

July 31, 2016 time period). [ECF No. 22, ¶¶ 18-26.] In other words, Plaintiffs



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copied and pasted the language of the PPPA into their complaint instead of alleging

what they actually purchased from PCH.

         7.        Plaintiffs’ failure to allege what they actually purchased from PCH is

compounded by the fact that PCH sells a myriad of products, many, if not most of

which, fall outside the purview of the PPPA. Plaintiffs’ own allegations make this

clear: “PCH has diversified beyond selling magazine subscriptions and now offers

general merchandise, collectible and home entertainment products like books and

videos.” [ECF No. 22-4.]

         8.        In contrast, the plaintiffs in Batts allege that the defendant, Gannett Co.,

“is the publisher of various newspapers across the country such as the Detroit Free

Press, as well as its flagship publication USA Today.” [Batts Compl., attached hereto

as Exhibit A, ¶ 17.] Thus, unlike here, the Batts plaintiffs’ allegations that the

defendant disclosed their information necessarily raised the inference that the

information disclosed was protected by the PPPA (i.e., that the plaintiffs purchased

a USA Today subscription).

         9.        Finally, in Batts, the plaintiffs did not include in their complaint any

allegations that directly refuted their claims that the defendant violated the PPPA.

Here, that is not the case. Here, the plaintiffs attached to their complaint screenshots

that they allege demonstrate that PCH violated the PPPA when, in fact, they do the

exact opposite. The screenshots attached to Plaintiffs complaint here state that:



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         •         “Publishers Clearing House offers promotionally responsive and credit-

                   worthy buyers of magazine subscriptions generated from PCH’s

                   various sweepstakes mailings.” [ECF No. 22-2 (emphasis added).]

         •         “Ideal prospects for magazine subscriptions, general merchandise,

                   publishing, fundraising, credit card, home, garden, ethnic, children,

                   family, education, music and book clubs, health and fitness, mature,

                   travel, hobbies, collectibles, and sports offers.” [Id. (emphasis added).]

         •         “These buyers of books, videos, or music are generated from PCH’s

                   sweepstakes mailings.” [ECF No. 22-3 (emphasis added).]

         •         “They are ideal prospects for a variety of offers including: books,

                   music, video, general merchandise, credit card, fundraising,

                   insurance, membership and club continuity offers.” [Id. (emphasis

                   added).]

         •         “These buyers are generated from PCH’s various sweepstakes

                   mailings and are ideal prospects for general merchandise, publishing,

                   fundraising, credit card, home, garden, children & family, music and

                   book clubs, health and beauty, sports, travel, inspirational, gifts &

                   collectible offers.” [ECF No. 22-7 (emphasis added).]

         •         “These buyers are generated from PCH’s various sweepstakes

                   mailings and are ideal prospects for general merchandise, publishing,


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                   fundraising, credit card, home, garden, children & family, music and

                   book clubs, health and beauty, sports, travel, inspirational, gifts &

                   collectible offers.” [ECF No. 22-8 (emphasis added).]

         10.       Each of these screenshots make clear that if a list of information was

disclosed, that list was “generated from PCH’s various sweepstakes mailings” and,

therefore, did not include “a record or information concerning the purchase, lease,

rental, or borrowing of” PPPA-protected materials.

         11.       In truth, by continuing to bring to the Court’s decision order in other

PPPA cases that involve different facts and different parties, Plaintiffs here are only

providing further support for PCH’s argument that Plaintiffs here have not alleged

sufficient facts to give rise to a plausible claim under the PPPA.


                                            Respectfully submitted,



 Dated: April 6, 2023                        By: s/ Matthew D. Pearson
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                            CERTIFICATE OF SERVICE



         I hereby certify that on April 6, 2023, I caused to be electronically filed the

foregoing RESPONSE TO PLAINIFFS’ NOTICE OF SUPPLEMENTAL

AUTHORITY using the CM/ECF system, which will send notification of such

filing to all counsel of record.



                                                /s/ Matthew D. Pearson
                                                Matthew D. Pearson




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